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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

CRAIGVILLE TELEPHONE CO. d/b/a        )
ADAMSWELLS; and CONSOLIDATED          )
TELEPHONE COMPANY d/b/a CTC           )
                                      )
            Plaintiffs,               )    No. 1:19-cv-07190
                                      )
     vs.                              )    Judge Sharon Johnson Coleman
                                      )    Magistrate Judge Jeffrey T. Gilbert
T-MOBILE USA, INC.;                   )
                                      )
            Defendant.                )

      PLAINTIFFS’ JOINT MOTION TO RESOLVE DISCOVERY DISPUTES
          CONCERNING CUSTOMER CONTACT ORDER (ECF 326)

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        Plaintiffs, Craigville Telephone Co. d/b/a AdamsWells and Consolidated Telephone

Company d/b/a CTC, on behalf of themselves and a class of similarly-situated companies

(“Plaintiffs”), and Defendant T-Mobile USA, Inc. (“TMUS”), submit this Joint Motion to Resolve

Discovery Disputes setting forth the parties’ respective positions on Plaintiffs’ request that, “the

Court revisit the approved method of communication if contact by mail proves wholly ineffective

at reaching potential witnesses in this case,” as provided in this Court’s December 19, 2022 Order

Regarding Customer Contact (ECF 326, “Order”). TMUS opposes the relief sought by Plaintiffs.

        In accordance with Magistrate Judge Gilbert’s September 15, 2021 Order (ECF 158) and

preference for joint briefs concerning discovery disputes, the following Joint Motion sets forth

both parties’ positions on the relief sought by Plaintiffs herein.

        Plaintiffs assert this Joint Motion complies with Local Rule 37.2. The meet and confer

efforts are detailed in Plaintiffs’ Statement below, and include an April 10, 2023 video call

attended by Plaintiffs’ counsel Katie Gallagher and Lela Ames1 and TMUS counsel Amy Gordon

and Jennifer Roche. During that call, Plaintiffs’ counsel asked for TMUS’s position regarding

whether Plaintiffs could send letters to multiple addresses in those instances where TMUS’s

records reflected multiple names and addresses for the same phone number, with such letters only

counting as contacting one customer for purposes of the Order. TMUS did not consent to this, but

said that the parties could revisit the matter if a spreadsheet containing additional data produced

on April 10 did not allow Plaintiffs to determine when each of the persons listed for the same

number was active on the account. Plaintiffs’ counsel also asked whether TMUS would agree to

allow Plaintiffs to contact 100 TMUS subscribers via text message, explaining that Plaintiffs have

only received one response after sending out over 90 letters. TMUS’s counsel was not authorized


1
  Ms. Ames attended the call but did not participate. She has not as of yet moved for pro hac vice admission
in this case.


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to consent to this, as she needed to discuss the request with her colleagues and client before

providing a formal response. Plaintiffs’ counsel similarly asked whether TMUS would

alternatively consent to Plaintiffs contacting additional TMUS customers by mail, and likewise,

TMUS’s counsel did not consent, as she needed to discuss with her colleagues and client before

providing a formal response. On a separate April 14, 2023 meet and confer to discuss deposition

scheduling for the April 17, 2023 Joint Status Report, counsel for Plaintiffs, Cathy Hinger, raised

the customer contact issue with counsel for TMUS Michael Mervis in the context of addressing

that this issue may come up at the April 20, 2023 Status Conference and Mr. Mervis advised that

TMUS would not consent to text message contact.

I.       Plaintiffs’ Statement.

         A.     Introduction.

         As briefed long ago, in October of 2021, the impact of fake ring tones on TMUS’s

subscribers is a central issue in this case. (See ECF 170 at 21-25.) The Court recognized that

TMUS subscribers may have relevant information and by a March 25, 2022 Minute Entry, set in

motion an action plan to permit Plaintiffs to contact them. (See generally ECF 252; see also

3/25/22 Hr’g Tr. at 38:10 – 11 (“But I get that these are people who have relevant information.”),

44:1-2 (“I think I agree with [Plaintiffs’ counsel] that they should be entitled to talk to

witnesses.”).) More than a year later, Plaintiffs still have had no meaningful contact with any

TMUS subscribers they learned experienced fake ring tones through discovery produced by TMUS

because (1) U.S. mail is not a reliable mode of contact; and (2) relying on TMUS for current and

accurate U.S. mail contact information for the vast number of subscribers whose phone numbers

appear in discovery documents has proven unreliable and unworkable. These are the precise

concerns Plaintiffs raised during the hearing on these issues and in their briefings leading up to the




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customer contact Order. (See ECF 170 at 32-33; ECF 262 at 3-9; see also 3/25/22 Hr’g Tr. at

49:1-3 (“And I’m concerned about the speculativeness of the letters actually getting to places they

belong.”).) Given that the Court recognized in its Order that these contingencies could come to

fruition (ECF 326 at 2), and left the door open to revisit the mode of contact, Plaintiffs respectfully

request that the Court revise the customer contact Order and implement the peer to peer text opt in

method of contact previously proposed by Plaintiffs. (See ECF 262 at 3-9.)

        B.      TMUS’s Production of Customer Contact Information Has Been Ambiguous,
                Confusing, and Unreliable.

        On December 19, 2022, the Court entered the Order providing that “TMUS will produce

the mailing addresses and names associated with numbers of the customers identified in TMUS’s

document productions” so that Plaintiffs could select TMUS customers to contact via U.S. mail.

(Order at 2.) After multiple requests, TMUS provided Plaintiffs with a spreadsheet of customer

contact information on January 13, 2023, followed by a second such spreadsheet on January 19,

2023, with the spreadsheets each marked Confidential under the Agreed Protective Order. (Ex. 1,

Email Chain at Jan. 13 and Jan. 19, 2023 Emails; Ex. 2, Excerpt from Jan. 13, 2023 Spreadsheet;

Ex. 3, Jan. 19, 2023 Spreadsheet.) The first spreadsheet contains 9,263 rows, while the second

spreadsheet contains an additional 832 rows, for a total of over 10,000 entries.2

        The spreadsheets reflect multiple columns of data with headings that defy explanation,

such as “SUB_STATUS”, “NAME _EFF_DATE”, “NAME_EXP_DATE”, “ADR_EFF_DATE”,

and “ADR_EXP_DATE”, among others. Even more confusing, there are many instances where

TMUS’s spreadsheets list contact information for multiple individuals for the same phone number,

in overlapping date ranges, making it impossible for Plaintiffs to determine which customer they


2
 The January 13, 2023 spreadsheet is incredibly voluminous, and thus, Plaintiffs have only included an
excerpt from this spreadsheet as Exhibit 2. If the Court wishes to view the entire spreadsheet, Plaintiffs
will provide an electronic or hard copy file to the Court, whichever the Court prefers.


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should contact. (See Ex. 1, Email Chain at Mar. 27, 2023 Email (providing examples of 6

individuals with the same number during overlapping time periods).)3

        C.      The Data From T-Mobile Is Unworkable.

        Starting in late January and continuing through April, Plaintiffs sought clarification on

these issues from TMUS, culminating in a meet and confer via WebEx with counsel for Plaintiffs

and TMUS on April 10, 2023. (Ex. 1, Email Chain at Jan. 22, Feb. 3, Feb. 23, Mar. 23, Mar. 27,

and Apr. 6, 2023 Emails.) TMUS provided additional information on April 10, containing another

1,300 rows of data, but this information continued to be unworkable and incomplete. (See id. at

Apr. 10, 2023, 12:45 pm Email; Ex. 4, Apr. 10, 2023 Four Column Spreadsheet; Ex. 5, Apr. 10

2023 Five Column Spreadsheet.)4

        The April 10 supplemental information provided, for the first time, information regarding

several customers that Plaintiffs previously identified as missing from TMUS’s January

spreadsheets. (See Ex. 1, Email Chain at Mar. 30 and Apr. 10, 2023 Emails.) However, key

information necessary to determine whether these individuals comply with the limitations on

contact set forth by the Order has still not been provided by TMUS, such as the dates these

individuals were T-Mobile customers. (See Ex. 4, Apr. 10, 2023 Four Column Spreadsheet.)

Unfortunately, during the parties’ April 10 meet and confer, TMUS could not provide an estimate




3
  Following months of requesting clarification on TMUS’s information, TMUS provided new information
on April 10 purportedly aimed at addressing this concern, and clarifying, for the first time, that the time
periods for this one example were not, in fact overlapping, but rather that the number was associated with
different subscribers in 2010, 2011, 2018, and 2019, but evidently not associated with any subscriber during
the relevant 2016 timeframe. This number, however, appears in TMUS’s document production in
connection with an email from the FCC relaying call completion complaints in June 2016, and thus, it
remains unclear which individual had the number in 2016. TMUS’s original data created this confusion in
the first instance.
4
  The April 10 supplemental spreadsheets appear incomplete on their face as the January spreadsheets
contained 18 columns of data fields while the April 10 supplemental spreadsheets only contain four and
five columns, respectfully.


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of when it would supplement this information. As of the date of this filing, two weeks later, TMUS

has still not supplemented this information.

       TMUS provided its longer April 10 spreadsheet to purportedly explain those instances

where multiple names are listed for the same phone number during overlapping time periods. To

confirm this, Plaintiffs must cross-reference the April 10 spreadsheet against the prior two

voluminous spreadsheets to determine the dates when each individual was “active” on the account.

(See Ex. 5, Apr. 10, 2023 Five Column Spreadsheet.) But again, this data is proving unreliable,

as TMUS could not confirm during the meet and confer whether these dates would be accurate in

all instances, such as whether the dates would reflect when a subscriber is suspended and later

reinstated. Moreover, for the example Plaintiffs previously provided, this data also does not show

which individual was assigned to the phone number during the time identified in the corresponding

document produced in discovery. (See Ex. 6, April 12, 2023 Email.) Because of the confusion

created by TMUS’s information, Plaintiffs have been prejudiced by being unable to send letters to

customers where there are multiple individuals assigned to a phone number in apparently

overlapping periods. Plaintiffs have not sent letters to any customers associated with these phone

numbers to avoid making speculative choices as to which of the individuals should receive a letter

based on the confusing data, and to avoid running afoul of the Court’s Order.

       In those instances where there are multiple names for the same phone number, Plaintiffs

have asked TMUS to agree that Plaintiffs may send a letter to each of the names listed, with these

letters only counting as Plaintiffs contacting one customer for purposes of the 100 limitation in the

Order. (See Ex. 1, Email Chain at Mar. 23, Mar. 27, and Apr. 6, 2023 Emails.) Given the

imprecision and ambiguity of TMUS’s customer contact information, Plaintiffs should not be

forced to pick between one of several potentially relevant customers. To date, TMUS has not




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agreed to this accommodation. Such an accommodation would not be necessary but for TMUS’s

failure to clearly identify which customer was assigned to which phone number at the relevant

times.

         D.    Contacting T-Mobile’s Customers By Mail Has Proven Wholly Ineffective.

         Despite these cumbersome issues with the customer contact data TMUS provided, and

because at the time discovery had been scheduled to close on March 15, 2023, Plaintiffs sent over

90 letters to TMUS customers, reserving a handful pending attempts at resolving the foregoing

issues. As Plaintiffs anticipated though, regular mail is proving to be a highly ineffective method

for contacting customers. Plaintiffs have only received one customer response that did not yield

any useful information. Multiple customer letters have also been returned to sender, validating the

imprecision and lack of reliability associated with TMUS providing in 2023 addresses for customer

phone numbers in use during 2015 – 2016 when the fake ring tones were in effect. At this time

and unless any additional letters are returned to sender, Plaintiffs have six more letters that they

may send out under the current limitations of the Order.5 Given the extremely low response rate

to date, assuming any of these letters are even reaching the 2015 and 2016 owners of the phone

numbers, it is highly unlikely that six additional letters will result in reliable contact with any

TMUS subscriber witnesses whose experience addresses TMUS’s causation contention that fake

ring tones did not cause callers to prematurely terminate calls.

          The Order expressly provides that Plaintiffs “may petition the Court to revisit the

approved method of communication if contact by mail proves wholly ineffective at reaching

potential witnesses in this case.” (Order at 2.) As anticipated and now established by the course

of events over the past four months, contacting TMUS’s customers by mail is wholly ineffective.


5
 Plaintiffs have not yet sent these six letters because they want clear customer information from TMUS
before selecting these individuals.


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The process has proven to be “unreliable” and “too cumbersome, time consuming, costly, and

unwieldy to provide Plaintiffs reliable access to material witnesses.” (ECF 262 at 3.)6 Permitting

Plaintiffs to contact TMUS’s customers by text message is the logical next step, as this method of

communication has a 45% response rate, compared to a mere 9% response rate for direct mail.

(Id. at 5.) This would not necessarily mean that the number of customers that Plaintiffs would

contact would “double,” as TMUS contends, since Plaintiffs’ peer to peer vendor could send text

messages to some of the same witnesses who received letters, which would be reasonable since

people are five times more likely to respond to texts.7 Moreover, text messages will eliminate the

issue of TMUS not having accurate addresses for its former subscribers, which likely contributed

to the low response rate. Moreover, the number is irrelevant – TMUS has demonstrated no adverse

impact to it from its customers receiving Plaintiffs’ letters.

        TMUS’s purported concerns regarding the TCPA continue to be a red herring. As

Plaintiffs’ previously briefed, this argument is frivolous, among other reasons, because peer to

peer texting is not an automatic dialing system prohibited by the TCPA. (See ECF 262 at 4-7.)8




6
  During the March 25, 2022 Status Conference, the Court noted Plaintiffs’ concern that this would become
“a costly process” and questioned whether a phone bank would be less costly. (See ECF 253, Mar. 25,
2022 Tr. at 50:18-22.) Unfortunately, the cost of this process has already exceeded Plaintiffs’ expectations,
with continuing uncertainty in the contact information provided by TMUS adding to the delay and costs.
7
  As Plaintiff have explained and as this Court agreed, (ECF 253 at 38:16-17 (“I agree with you on how
much the defendants are over your shoulder when you’re doing something like this.”)), precisely which
customers Plaintiffs choose is a matter protected by work product. See also ECF 253 at 43:4-12 (“defendant
would know who is in the wings. And they wouldn’t know everybody you talked to. They would actually
-- you know, they would know the universe, though, of who these people are being -- who is being sent a
written communication because the only way to get that is with some cooperation from T-Mobile with
contact information.”).
8
   Contrary to TMUS’s assertion, when counsel inquired whether Plaintiffs proposed texting the phone
numbers listed in the discovery documents, Plaintiffs answered that those are the only phone numbers
available to Plaintiffs absent TMUS presenting some other, more current contact information. However,
Plaintiffs would not simply send such texts—they would first conduct the necessary due diligence to
confirm that the subscribers met the requirements of the Order.



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       Plaintiffs respectfully request that the Court amend the Order to permit Plaintiffs to contact

100 TMUS customers falling within the same profile in the Order by opt in text message sent by

a peer to peer vendor as Plaintiffs previously proposed.

II.    T-Mobile’s Statement.

       A.      Introduction.

       On December 19, 2022, this Court entered the Order Regarding Customer Contact

(“Customer Contact Order”), permitting Plaintiffs to contact, by letter, up to 100 TMUS customers

identified in documents produced by TMUS so long as the customer met the criteria specified in

the Order. See generally ECF No. 326. The Court balanced the parties’ respective arguments,

weighing Plaintiffs’ alleged need to contact customers for information related to the “impact of

fake ring tones on TMUS’s subscribers” (see ECF No. 170 at 15) against the infringement on

individual privacy rights, finding that contacting TMUS customers by text or telephone is

“intrusive and fraught with potential problems” and therefore not proportional to the needs of the

case. See ECF No. 326 at 1. Anticipating “a likely lower response rate if contact is by mail,” the

Court “expanded” the number of customers Plaintiffs were permitted to contact “beyond the

number requested by either party,” permitting Plaintiffs to contact a total of 100 TMUS customers.

ECF No. 326 at 1-2.

       Disappointed in the low response rate and a response “that did not yield any useful

information” (supra at 8) Plaintiffs ask the Court to reevaluate its prior decision and permit

Plaintiffs to contact an additional 100 TMUS customers by text message—i.e., 25 more customers

than Plaintiffs originally requested to contact by text and double the number of customer contacts

the Court already permitted. However, Plaintiffs’ arguments for their renewed request to send text




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messages do not overcome the legal and privacy considerations the Court evaluated when it

declined to permit contact by text the first time around.9

         First, Plaintiffs’ claim that the customer contact information TMUS produced was

“unworkable” is contradicted by the fact that Plaintiffs have already used this information to send

letters to 94 TMUS customers, and they have offered no reason to believe that, other than the

“handful”10 of letters returned to sender, the letters did not reach their targets. It is not the fault of

the data that only one person responded, but rather factors outside of TMUS’s control, including

that the customers do not wish to engage with lawyers relating to a lawsuit in which they have no

interest about years old phone calls or do not have any relevant information. Moreover, for the six

allotted contacts Plaintiffs have not yet used, as explained below, TMUS has provided Plaintiffs

with all the data they need to link a phone number with the customer to which it belonged at the

relevant period (i.e., when a rural call complaint was made).

         Second, any supposed data issues are not resolved by using text messages. Plaintiffs would

still need to rely on TMUS’s customer data to verify that phone numbers remain associated with

the same customer who held the number at the time of the rural call complaints. Otherwise,

Plaintiffs would fail to comply with the criteria set forth in the Customer Contact Order and could

be contacting people who never made any complaint about rural call completion.

         Balancing the same consumer privacy interests and TMUS’s customer relationships that

the Court already considered, against the now greater lack of countervailing need11 and seemingly


9
   TMUS has already briefed these issues and respectfully directs the Court to its prior statements about
them. See ECF No. 170 at 1-13, ECF No. 253 at 24-60, ECF No. 262 at 10-17.
10
   In their Statement Plaintiffs vaguely state that “[m]ultiple” letters have been returned to sender (supra at
6), but during the April 10 meet and confer Plaintiffs characterized the “multiple letters” as only a
“handful.”
11
   As TMUS has pointed out before, the harms Plaintiffs allege are not harms to either Plaintiffs’ or TMUS’s
customers, and neither side’s customers are class members. ECF No. 170 at 1. Nevertheless, Plaintiffs
claimed they needed to collect anecdotal evidence from individual customers regarding whether TMUS


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unlikely chance Plaintiffs will obtain relevant evidence, Plaintiffs request to contact 100 additional

TMUS customers by text message (or otherwise) should be denied.

        Here it bears emphasizing TMUS’s valid concern that text messages could lead to TCPA

litigation against TMUS. See ECF No. 262 at 12-13. The issue is not whether such litigation

would have any merit, but rather that any litigation would require TMUS to incur the costs of

defending. Although Plaintiffs denigrate this concern, neither they nor their counsel have offered

to indemnify TMUS from such potential litigation.

        B.      TMUS’s Production of Customer Contact Information Satisfied its Purpose of
                Allowing Plaintiffs to Contact Customers.

        Following the entry of the Customer Contact Order, on January 3, 2023, Plaintiffs

requested the names and mailing addresses associated with the numbers identified in TMUS’s

document productions. TMUS promptly reviewed the documents it had produced, identified the

telephone numbers appearing to belong to TMUS customers, and produced the names and

addresses associated with those numbers to Plaintiffs ten days after they requested it (January 13).

That same day TMUS made another document production, and six days later (January 19),

provided Plaintiffs with contact information for the numbers identified in that subsequent

document production. As Plaintiffs concede, they used the information produced in January to

send letters to 94 of their allotted 100 contacts.12



customers “were influenced to prematurely hang up on calls where they heard” LRBT. Id. at 15, 17. There
is no evidentiary value to contacting a customer, describing what LRBT is, informing them that TMUS
used it, and asking the customer to think back to a call made well over six years ago to speculate about
whether they would have ended the call sooner or later if there had been dead air instead of LRBT (assuming
they actually heard LRBT years earlier). Id. at 6. This is even more true now that Plaintiffs have begun
receiving call detail records (CDRs) from Inteliquent, which will show which calls had LRBT and whether
those calls were terminated “prematurely,” without invoking the same privacy and legal concerns as
anecdotal memories from individual customers.
12
   As of today, TMUS has produced the names and addresses for nearly 700 unique telephone numbers—
not all of which would meet the criteria set forth in the Customer Contact Order (i.e., rural call completion
complaint made during the relevant period).


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       On March 2, 2023, in response to questions from Plaintiffs, TMUS provided additional

information about the customer data (which was contained in spreadsheets), explaining that the

data fields identify whether a customer’s account is active versus cancelled, and which names and

addresses are effective versus expired, as phone numbers can change hands and addresses may

change. At the same time, TMUS asked Plaintiffs to provide examples of instances where

Plaintiffs claimed, “different individuals with different addresses are listed as sharing the same

SUBSCRIBER_NO [telephone number] during an overlapping time period.” (Ex. 1, Email Chain

at Feb. 3 and Mar. 2, 2023 Emails.) Plaintiffs did not respond for three weeks, and then only to

decline to provide examples, claiming (dubiously) attorney work product and strategy. (Id. at Mar.

23, 2023 Email.) TMUS then undertook “to identify its own examples and investigate further.”

(Id. at Mar. 25, 2023 Email.)

       On March 27, Plaintiffs provided TMUS with one example of a situation where a telephone

number was associated with multiple people and addresses. (Id. at Mar. 27, 2023 Email.) Contrary

to Plaintiffs’ suggestion, the multiple individuals did not share the same telephone number “during

an overlapping time period.” (See id. at Mar. 23 and Mar. 27, 2023 Emails.) Additional data

TMUS produced on April 10, 2023 showed when each customer was active on this particular

account (and thus, whether a particular customer was associated with the phone number at the time

of a call completion issue), and explained to Plaintiffs how they should use this data. (Id. at Apr.

10, 2023, 12:45 pm Email.)

       Later that day the parties engaged in a meet and confer, during which counsel for Plaintiffs

admitted to having already contacted over 90 TMUS customers out of the 100 they are permitted

to contact.   Through this Joint Motion, TMUS learned Plaintiffs had contacted 94 TMUS

customers (supra at 6). In other words, Plaintiffs were able to use the data TMUS had produced




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in January to contact nearly all the 100 customers they were allotted, needing the additional

information provided on April 10 only to determine for the six remaining allotted contacts which

customer was active on a given phone number at the relevant time. During this meet and confer,

TMUS did not agree to Plaintiffs’ proposal that T-Mobile “not consider it a violation of the Court’s

Order if Plaintiffs send letters to all names listed for the same phone number (within the time

period described in the Court’s Order) and that these letters will count as Plaintiffs contacting only

one customer.” (Ex. 1, Email Chain at Mar. 27, 2023 Email.) First, the proposal ran afoul of the

Court’s Customer Contact Order because Plaintiffs would undoubtedly be contacting customers

who did not make a complaint and therefore do not have discoverable information. See ECF No.

326 at 2-3. Second, as described above, TMUS had provided Plaintiffs with sufficient data they

can use for their remaining six permitted contacts to determine whether a particular customer was

associated with a particular phone number at the time of the call completion issue. For example,

on pages 3-4, supra, Plaintiffs cite an instance where multiple individuals are associated with the

same phone number. The data TMUS provided on April 10 shows that these individuals were not

active on the same phone number at the same time.13

        Plaintiffs characterize the April 10 data as “unreliable” by incorrectly asserting that counsel

for TMUS said that she could not confirm that dates would be accurate in all instances (supra at



13
  Plaintiffs acknowledge this in their email dated April 12, 2023. See Ex. 6, Apr. 12, 2023 Email. In it
they also unsuccessfully try to cast doubt on the April 10 data by saying none of the customers’ effective
dates line up with the date of the document in which the phone number was identified (TMUS00004614),
which is June 24, 2016. Id. However, that document is simply an email from the FCC to TMUS asking
TMUS to confirm whether certain phone numbers, including the one Plaintiffs identify, are TMUS
numbers. It does not mention a rural call completion issue or suggest that a complaint was made on that
date. In any event, this is the only phone number, out of nearly 700, that Plaintiffs have identified where
they are not to be able to link a call complaint to a particular customer. Moreover, as described below in
Section C, contact by text will not resolve this supposed issue because Plaintiffs would not be able to contact
the customer associated with this phone number without first confirming whether the customer who had
the phone number at the time of the FCC email is the same customer Plaintiffs would reach if they texted
the phone number today.


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5).14 To be clear, TMUS affirmatively states that the dates included in the additional data are

accurate in all instances to the best of its knowledge.

       Counsel for Plaintiffs also reference the customer contact information that TMUS provided

to Plaintiffs on April 10 (supra at 4) for a mere 11 telephone numbers inadvertently omitted from

TMUS’s January spreadsheets, which contained close to 700 telephone numbers. In the one

instance where there are multiple names associated with a number, TMUS will provide the

additional data for Plaintiffs to determine whether each individual meets the criteria set forth by

this Court. To the extent Plaintiffs want to send letters to the six remaining customers allotted to

them, they have more than enough information to do so.

       Plaintiffs’ claim that TMUS’s production of its customer contact information has been

“ambiguous, confusing, and unreliable,” and that the data is “unworkable,” is directly contradicted

by Plaintiffs’ admission that they have been able to use the data to send letters to 94 TMUS

customers out of the 100 they are allowed to contact (supra at 6). Plaintiffs make the baseless

assertion (supra at 7) that TMUS does not have accurate addresses for its former subscribers,

speculating that is why the TMUS customers to whom they sent letters did not express an interest

in involving themselves in Plaintiffs’ litigation. But except for a “handful” of return to sender

responses, there is no reason to believe contact has not been successful. Plaintiffs have not made

a cogent argument for why they should now be able to contact 100 additional customers by text,

which is fraught with significant privacy and TCPA litigation concerns.

       Plaintiffs assert the number of contacts they now seek is “irrelevant.” Supra at 7. That

assertion contradicts the careful balancing in which the Court already engaged when it permitted



14
  Counsel for Plaintiffs asked a question about how the data would reflect instances where a customer’s
account was canceled or suspended and then reinstated, which counsel for Plaintiffs said she would
investigate.


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Plaintiffs to contact 100 TMUS customers by letter. Moreover, whether Plaintiffs intend to contact

an entirely new set of 100 TMUS customers, the privacy concerns the Court acknowledged are in

no way diminished. If Plaintiffs’ request to text 100 customers were granted, they would either

invade the privacy of a new set of TMUS customers, or they would contact by text TMUS

customers with whom they have already communicated—and those customers have indicated they

are not interested in participating in the litigation by declining to respond to Plaintiffs’ letters.

Allowing Plaintiffs to double those communications by texting the same customers would border

on harassment, and should not be permitted where Plaintiffs have no reason to believe the letters

they sent, other than the handful that were returned to sender, did not reach the intended recipients.

       TMUS’s production of its customer contact information satisfied its purpose of allowing

Plaintiffs to contact, by mail, 100 customers whose numbers were identified in TMUS’s

productions. Plaintiffs are simply disappointed that they have not been able to find the “useful”

anecdotal evidence they desire, which is not surprising given there is no upside to the customers’

participation in a lawsuit brought by rural LECs and the LRBT software was deactivated in January

2017—six years ago.

       C.      Any Alleged Efficacy Issues Will Not be Resolved by Texting, and Will Only
               Increase the Risk of Harm.

       Contacting customers by text message will not resolve the supposed issues associated with

the customer data. The problem with the data, according to Plaintiffs, is there are “many instances”

where phone numbers are associated with multiple names and addresses (supra at 3). One reason

for this is that TMUS customers can cancel their phone service, and if for example, they switch to

another carrier but do not port their number, that number may be given to a new person.

Accordingly, the phone numbers listed in documents TMUS produced, which are anywhere from

five to ten years old, may no longer be associated with the customers who made the complaint



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years ago. If Plaintiffs do not reference TMUS’s customer data produced on April 10, which

shows when each customer associated with a single phone number was active on the particular

account, to determine whether the person who is currently active on the account is the same person

who was active on the account at the time the rural call complaint was made, they could end up

contacting a person who never experienced issues completing calls to rural areas or who never

attempted to call a rural area.15 Doing so would run afoul of the Customer Contact Order, the

purpose of which is to protect customer’s privacy interests and ensure that Plaintiffs contact only

customers who “potentially have discoverable information” by limiting the people Plaintiffs can

contact to those who had rural call completion issues during the relevant time period. See generally

ECF No. 326 at 2-3; ECF No. 253 at 42:1-10. Moreover, there is no reason to believe that an

individual will be any more willing to engage with counsel for Plaintiffs if they receive a text about

a call completion issue made and likely resolved up to a decade ago, versus a letter in the mail.

        In short, contrary to their assertion (supra at 5), Plaintiffs have not been “prejudiced” by

the fact that some phone numbers—through no fault of TMUS—have been associated with more

than one individual at different times. Despite this unsurprising circumstance, Plaintiffs were able

to identify and send letters to more than 90 of their allotted contacts. In any event, Plaintiffs cannot

contact a customer—by any means—without confirming that the customer they would be

contacting today is the same individual who was assigned the phone number at the time of the

complaint. Therefore, Plaintiffs’ unjustified protestations that the so-called “confusing” data

means they should be permitted to text 100 TMUS customers rings hollow.



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  At the April 10 meet and confer, Plaintiffs’ counsel stated that if TMUS agreed to its proposal to text
TMUS customers, Plaintiffs intended to simply text the numbers that appeared in the documents TMUS
produced. Plaintiffs did not suggest they would undertake further inquiry, by using the additional data
TMUS produced on April 10 as described above, to confirm the numbers still belonged to the customers
who had made complaints.


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Submitted on this 26th day of April 2023.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 26th day of April, 2023, I served the foregoing Plaintiffs’

Joint Motion To Resolve Discovery Disputes Concerning Customer Contact Order (ECF

326) via the ECF system on parties that have consented to the same in accordance with applicable

Federal Rules of Civil Procedure and the Local Rules of the U.S. District Court for the Northern

District of Illinois.



                                              By:     /s/ David T.B. Audley
